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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:06-cr-00027-MP-AK

BRANDON K. CAMPBELL,
FREDERICK C. HALL,
DOMANEK A. WILLIAMS,
GIOVANNI G. CONEY,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 62, Motion to Continue filed by Defendant

Campbell, Doc. 64, Motion to Continue filed by Defendant Williams, and Doc. 65, Motion to

Continue filed by Defendant Hall. A telephone conference was held on these motions on Friday,

October 6, 2006, during which the Government stated that it did not object to the motions. Each

motion addresses the need of the respective defendant for more time to complete his assistance

and cooperation with the Government, and each defendant waives their right to a speedy trial so

that this may be accomplished. In addition, Defendant Williams in Doc. 64 and Defendant Hall

in Doc. 65 both seek continuances because new counsel was recently appointed, and counsel has

not had an adequate opportunity to review the Government’s discovery or to prepare for trial.

The Court finds that because of this, a failure to grant a continuance would deny defense counsel

reasonable time to effectively prepare, and that the ends of justice served outweigh the interests

of the public and the Defendant in a speedy trial. See, e.g., 18 U.S.C. § 3161(h)(8)(B)(iv).

Therefore, the motions to continue are granted.

       During the telephone conference, Defendant Coney also requested a continuance in his
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trial so that he may be tried with his co-defendants. The Government does not object to the

continuance. The Court finds that the interests of justice are served by granting the continuance

and outweigh any countervailing interests. See, e.g., 18 U.S.C. § 3161(h)(7) (finding the

interests of justice served outweigh the interests of the public and the defendant in a speedy trial

and excusing a reasonable period of delay to try the defendants together from the computation of

the time for commencement of a criminal trial.) Accordingly, the trials of Defendant Campbell,

Defendant Hall, Defendant Williams, and Defendant Coney, currently set for Tuesday, October

10, 2006, are reset for Tuesday, November 14, 2006, at 12:30.


        DONE AND ORDERED this             11th day of October, 2006


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge




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